     Case 1:19-cr-00025-ADA-BAM Document 23 Filed 02/15/19 Page 1 of 2


 1   HEATHER E. WILLIAMS, Bar No. 122664
     Federal Defender
 2   MEGAN T. HOPKINS, Bar No. 294141
     Assistant Federal Defender
 3   Designated Counsel for Service
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 6   Attorneys for Defendant
     YULIANA GAYTAN-IGNACIO
 7
 8                             IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                     Case No. 1:19-cr-0025 DAD-BAM

12                      Plaintiff,
                                                    REQUEST FOR WAIVER OF DEFENDANT’S
13    vs.                                           PERSONAL APPEARANCE; ORDER
                                                    THEREON
14    YULIANA GAYTAN-IGNACIO,

15                     Defendant.

16
17                   Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant, YULIANA GAYTAN-

18   IGNACIO, having been advised of her right to be present at all stages of the proceedings, hereby
19   requests that this Court proceed in her absence on every occasion that the Court may permit,
20   pursuant to this waiver. Defendant agrees that her interests shall be represented at all times by

21   the presence of her attorney, Assistant Federal Defender, Megan T. Hopkins, the same as if
22   Defendant were personally present, and requests that this court allow her attorney-in-fact to
23   represent her interests at all times.

24           Defendant further agrees that notice to Defendant's attorney that Defendant’s presence is
25   required will be deemed notice to the Defendant of the requirement of her appearance at said
26   time and place.
27           This request was made orally at the February 15, 2019 hearing and was granted at that
28   time, however the Court requested that a written request also be filed. The government does not
     Case 1:19-cr-00025-ADA-BAM Document 23 Filed 02/15/19 Page 2 of 2


 1   oppose this request.
 2            This request is made to avoid the necessity of travel for all court appearances, in light of
 3   the fact that defendant resides in Los Angeles County, CA and the cost of travel imposes a
 4   financial hardship on the defendant and her family.
 5
 6            DATED: February 15, 2019               /s/ Original signature on File
                                                     YULIANA GAYTAN-IGNACIO
 7
 8
 9            DATED: February 15, 2019               /s/ Megan T. Hopkins
                                                     MEGAN T. HOPKINS
10                                                   Assistant Federal Defender
                                                     Attorney for YULIANA GAYTAN-IGNACIO
11
12
13                                                 ORDER
14
15            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s appearance
16   may be waived at any and all non-substantive pretrial proceedings until further order, whether
17   written or orally.
18
19   IT IS SO ORDERED.
20
     Dated:     February 15, 2019
21                                                        UNITED STATES MAGISTRATE JUDGE

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